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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICANS FOR PROSPERITY             )
FOUNDATION                           )
                                     )
            Plaintiff,               )
                                     )
      v.                             )    Civil Action No. 21-2021 (CJN)
                                     )
CENTERS FOR MEDICARE AND             )
MEDICAID SERVICES,                   )
                                     )
            Defendant.               )
____________________________________)

            PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS

       Pursuant to Federal Rule of Civil Procedure 56 and Rule 7(h) of the Local Civil Rules of

the United States District Court for the District of Columbia, Plaintiff Americans for Prosperity

Foundation (“AFPF”) hereby submits this statement of undisputed material facts in support of its

opposition and cross-motion for summary judgment.

 A.    AFPF’s May 2021 FOIA Request

       1.     By letter, dated May 21, 2021, AFPF submitted a FOIA request to the Centers for

Medicare and Medicaid Services (“CMS”) seeking access to six categories of records. Decl. of

Ryan P. Mulvey ¶ 4; Mulvey Decl. Ex. 1; see Decl. of Hugh Gilmore ¶ 5, ECF No. 24-3.

       2.     Defendant acknowledged it received AFPF’s FOIA request on June 1, 2021.

Mulvey Decl. ¶ 10; Mulvey Decl. Ex. 2.

       3.     AFPF filed this lawsuit on July 27, 2021 after Defendant failed to provide a timely

final response to AFPF’s FOIA request. Mulvey Decl. ¶¶ 13–14.
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    B.   Defendant’s Processing of AFPF’s FOIA Request

         4.    After filing its Answer, Defendant completed initial searches for responsive records

and engaged in negotiations with AFPF regarding, among other things, the universe of potentially

responsive records and the timeline for production. Mulvey Decl. ¶ 16; see Gilmore Decl. ¶ 6.

         5.    While Defendant completed production of responsive records, the parties worked

to narrow the issues in dispute and ultimately agreed to limit the scope of summary-judgment

proceedings to a single legal question: whether Defendant had satisfied its burden under the

FOIA’s foreseeable-harm standard to justify non-disclosure of a single record (with attachments)

under Exemption 5 and the attorney-client privilege. Mulvey Decl. ¶ 17; see Mulvey Decl. ¶ 31;

cf. Gilmore Decl. ¶¶ 6–8.

    C.   The September 1990 Memorandum and Attachments

         6.    The sole record at issue is a seven-page memorandum, inclusive of attachments,

dated September 18, 1990 and Bates numbered CMSMar00475–81.1 Mulvey Decl. ¶ 18; see

Mulvey Decl. Ex. 3.

         7.    Of the seven pages comprising the memorandum and attachments, Defendant

released two pages in full (including one blank page), redacted in part three pages, and withheld

in full two pages. Mulvey Decl. ¶ 19; cf. Gilmore Decl. ¶ 8.

                                       CMSMar00475–76

         8.    CMSMar00475 is a September 18, 1990 memorandum sent to David McNally,

then-Director of the Office of Medicaid Management (“OMM”), by Donna Eden, an employee in




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 Defendant did not produce a redacted copy of CMSMar00481 but indicated that the page—i.e.,
page seven of the memorandum—was withheld in full. Mulvey Decl. ¶ 18 n.1; see Mulvey Decl.
Ex. 3; cf. Gilmore Decl. ¶ 12.
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the Department of Health and Human Service’s (“HHS”) Office of the General Counsel (“OGC”).

Mulvey Decl. ¶ 20; cf. Gilmore Decl. ¶¶ 8 & 12.

       9.      CMSMar00475 memorializes OGC’s response to OMM’s request for “review and

clearance” of a separate memorandum that “proposed giving states which are disallowance liable

for fiscal year 1982 (FY 82) the opportunity to review quality control resource errors by using the

lesser of the excess resource amount or the paid claims amount.” Mulvey Decl. ¶ 20 (quoting

Mulvey Decl. Ex. 3).

       10.     Defendant redacted a substantial portion of CMSMar00475 that ostensibly reflects

“legal advice concerning the content of OMM’s proposed memorandum.” Mulvey Decl. ¶ 20; see

Gilmore Decl. ¶ 12.

       11.     CMSMar00476 appears to be the reverse of the September 18, 1990 OGC

memorandum. Mulvey Decl. ¶ 21.

       12.     Defendant released CMSMar00476 in full, but the page is effectively blank.

Mulvey Decl. ¶ 21.

                                         CMSMar00477

       13.     CMSMar00477 is an attachment to the September 18, 1990 OGC memorandum

that is dated July 25, 1990. Mulvey Decl. ¶ 22.

       14.     CMSMar00477 reflects OMM’s initial request for OGC’s legal review of a draft

memorandum and letter. Mulvey Decl. ¶ 22; Gilmore Decl. ¶ 12.

       15.     Defendant released CMSMar00477 without redaction. Mulvey Decl. ¶ 22; Gilmore

Decl. ¶ 12.




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                                        CMSMar00478–79

        16.     CMSMar00478–79 is the draft document for which OMM sought OGC’s legal

review, and it was included as an attachment to CMSMar00477. Mulvey Decl. ¶ 23; Gilmore

Decl. ¶ 12.

        17.     According to OMM’s initial request for OGC review, this draft “explains that States

which are disallowance liable for FY 1982 have the opportunity to revise resource errors by using

the excess resource amount or the paid claims amount, whichever is less.” Mulvey Decl. ¶ 23

(quoting Mulvey Decl. Ex. 3).

        18.     Defendant redacted CMSMar00478–79 in part and only released non-substantive

content. Mulvey Decl. ¶ 23.

                                        CMSMar00480–81

        19.     CMSMar00480–81 is a document included with the draft memorandum sent to

OGC with OMM’s request for legal review. Mulvey Decl. ¶ 24.

        20.     Specifically, CMSMar00480–81 is a copy of “the State letter [CMS] plan[ned] to

send to each State that is disallowance liable for FY 1982.” Mulvey Decl. ¶ 24 (quoting Mulvey

Decl. Ex. 3).

        21.     Defendant withheld CMSMar00480–81 in full. Mulvey Decl. ¶ 24; Gilmore Decl.

¶ 12.

                                      The Age of the Record

        22.     At the time of AFPF’s FOIA request, the September 1990 OGC memorandum,

including all its accompanying attachments, was already more than thirty years old. Mulvey Decl.

¶ 25.




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       23.     The draft materials reviewed by OGC at the behest of OMM pertain to state-

government Medicaid disallowance liabilities during Fiscal Year 1982. Mulvey Decl. ¶ 25.

       24.     Fiscal Year 1982 ended roughly forty years ago. Mulvey Decl. ¶ 25.

         CMS’s Treatment of the September 1990 Memorandum and Attachments

       25.     Defendant initially withheld portions of the September 1990 OGC memorandum

and its attachments pursuant to Exemption 5 in conjunction with the deliberative-process privilege.

Mulvey Decl. ¶ 26; Mulvey Decl. Ex. 4.

       26.     The use of the deliberative-process privilege to withhold the September 1990 OGC

memorandum and its attachments is statutorily barred because the record is more than twenty-five

years old. Mulvey Decl. ¶ 27; see 5 U.S.C. § 552(b)(5).

       27.     On or about May 31, 2022, Defendant modified its argument for the use of

Exemption 5 and invoked, for the first time, the attorney-client privilege. Mulvey Decl. ¶ 28.

       28.     Defendant does not know the ultimate status of the draft materials sent to OGC for

legal review because there is no one currently employed in the relevant program office who has

personal knowledge of the deliberations or legal consultations implicated by the September 1990

OGC memorandum. Mulvey Decl. ¶ 30.

       29.     AFPF has stipulated that Defendant satisfied the technical requirements for its use

of the attorney-client privilege to the record at issue. Mulvey Decl. ¶ 31.

       30.     The only issue in dispute is whether Defendant satisfied its burden under the

foreseeable-harm standard to continue to withhold the September 1990 OGC memo and

attachments, i.e., CMSMar00000475–81. Mulvey Decl. ¶ 31.


                                         *       *       *




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Dated: December 13, 2022                  Respectfully submitted,

                                          /s/ Ryan P. Mulvey
                                          Ryan P. Mulvey
                                          D.C. Bar No. 1024362
                                          Eric R. Bolinder
                                          D.C. Bar No. 1028335

                                          AMERICANS FOR PROSPERITY
                                          FOUNDATION
                                          1310 North Courthouse Road, Suite 700
                                          Arlington, VA 22201
                                          Telephone: (571) 444-2841
                                          rmulvey@afphq.org
                                          ebolinder@afphq.org

                                          Counsel for Plaintiff




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